     5,&+$5'-68//,9$1
     &DOLIRUQLD6WDWH%DU1R
     /$:2)),&(62)5,&+$5'-68//,9$1
     6RXWK%DUULQJWRQ$YHQXH6XLWH
     /RV$QJHOHV&$
                                                                      Motion GRANTED.
     7HO  
     (0DLO&KLHIWULDOFRXQVHO#*PDLOFRP

     $WWRUQH\VIRU(OLFHR)XHUWH%DUULJD




                                81,7('67$7(6',675,&7&2857

                                0,''/(',675,&72)7(11(66((

                                       1$6+9,//(',9,6,21

81,7('67$7(62)$0(5,&$                           &DVH1RFU

                        3ODLQWLII                  7KH+RQRUDEOH$OHWD$7UDXJHU
                                                    86'LVWULFW-XGJH
Y
                                                    0 2 7 , 2 1 7 2  &2 1 7 , 1 8 (  7 5 , $ / 
-$9,(5321&(&85$6&2HWDO                       '(&/$5$7,212)$77251(<5,&+$5'
                                                    -68//,9$1,168332577+(5(2)
                        'HIHQGDQW
                                                    'DWH7%'
                                                    7LPH7%'
                                                    'HSW7%'

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                                               ,

         *22'&$86((;,67672&217,18(7+(75,$/'$7(,17+,60$77(562

         7+$7'()(1'$17(/,&(2)8(57(5(&(,9(6+,66,;7+$0(1'0(17

         5,*+772&2816(/




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